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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


 CRYSTALLEX INTERNATIONAL CORP.,                  )
                                                  )
  Plaintiff,                                      )
                                                  )
         v.                                       ) Misc. No. 17-151-LPS
                                                  )
 BOLIVARIAN REPUBLIC OF VENEZUELA,                )
                                                  )
  Defendant.                                      )
                                                  )
 _______________________________________          )

                 SPECIAL MASTER’S STATUS REPORT REGARDING
               OBJECTIONS TO PROPOSED SALE PROCEDURES ORDER




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      Pursuant to the Court’s Oral Order dated November 4, 2021 (D.I. 387), the Special Master

hereby submits this report in advance of the hearing scheduled for November 8, 2021

(the “Hearing”) regarding the status of the objections to the Proposed Order (A) Establishing Sale

and Bidding Procedures, (B) Approving Special Master’s Report and Recommendation Regarding

Proposed Sale Procedures Order, (C) Affirming Retention of Evercore as Investment Banker by

Special Master, and (D) Regarding Related Matters (D.I. 302) (as revised on September 10, 2021

by the Response of Special Master to Objections to Proposed Sale Procedures Order (D.I. 341-1),

the “Proposed Sale Procedures Order”).1

      As the Court and each of the Sale Process Parties are aware, since the filing of the Proposed

Sale Procedure Order, my Advisors and I have continued to engage with the Sale Process Parties

in an attempt to narrow the issues for the Court’s consideration at the Hearing. This process

remains ongoing and the Special Master anticipates that it will continue into the weekend.

I anticipate that we will be in a position to file a further revised Proposed Sale Procedures Order

by Sunday, November 7, 2021, as early in the day as is practicable, which my Advisors and I

expect will further narrow the issues for the Court’s consideration at the Hearing. The Special

Master will preview the changes with the Sale Process Parties prior to filing the revised Proposed

Sale Procedure Order this weekend.2




1
 Capitalized terms used but not defined herein have the meaning ascribed thereto in the Special
Master’s Report and Recommendation Regarding Proposed Sale Procedures Order (D.I. 303).
2
  We anticipate the amount of textual changes to be minimal. However, recognizing the limited
time that the Court and interested parties that are not Sale Process Parties will have to review
revised Proposed Sale Procedures Order, my lead counsel, Ray C. Schrock, P.C. of Weil, Gotshal
& Manges LLP will be prepared to begin the hearing with an overview of the changes in the revised
Proposed Sale Procedures Order.



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         The table below sets forth my understanding of the status of the Objections filed by the Sale

Process Parties to the Proposed Sale Procedures Order as of approximately 6:00 p.m. (ET) on

November 5, 2021:

     Sale Process Party                                                            Objections and
                                                Status of Objection
   (Listed Alphabetically)                                                            Replies
 ConocoPhillips                     1. I have conferred with ConocoPhillips           (D.I. 319)
                                       and am optimistic that their objections        (D.I. 339)
                                       will be resolved upon the filing of the
                                       revised Proposed Sale Procedures
                                       Order over the weekend.
 Crystallex                         1. I have conferred with Crystallex and           (D.I. 316)
                                       understand that their objections remain        (D.I. 343)
                                       outstanding. We are working with
                                       Crystallex over the weekend to add
                                       additional language to the Proposed
                                       Sale Procedure Order that may resolve
                                       certain of those objections.
 Venezuela Parties                  1. I have conferred with the Venezuela            (D.I. 317)
                                       Parties and understand that their              (D.I. 340)
                                       objections remain outstanding.                 (D.I. 385)



         I remain available at the Court’s convenience should Your Honor have any questions.

                                                               /s/ Robert B. Pincus
                                                               Robert B. Pincus, in my capacity as
                                                               Special Master for the United States
                                                               District Court of Delaware

Dated: November 5, 2021
759121




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